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NITRO Holdings Entity Structure




Nitro Management Holdings, LLC             Nitro Founders I, LLC                 Nitro Founders II, LLC           MC Nitro, LLC                    Stephen De Bever
taxed as partnership                       taxed as partnership                  taxed as partnership             EIN: XX-XXXXXXX                  Individual
EIN: XX-XXXXXXX                            EIN: XX-XXXXXXX                       EIN: XX-XXXXXXX                  outside investor
operating agreement (7a)                   operating agreement (5a)              operating agreement (6a)
                                           distributions/bank guarantee          earn out
                11,704.91 class P units                                                     3,000 class B units        7,000 class A units         166.67 Class A-1 Units


                                           Nitro Holdings, LLC
                                           taxed as partnership
                                           EIN: XX-XXXXXXX
                                           operating agreement (1a)

                               100%                   100%                     100%              100%

NITROcrete, LLC                            NITROcrete IP, LLC                    NITROcrete Equipment, LLC        NITROcrete Holdings, LLC
EIN: XX-XXXXXXX                            EIN: XX-XXXXXXX                       EIN: XX-XXXXXXX                  EIN: XX-XXXXXXX
operating agreement (2a)                   operating agreement (3a)              operating agreement (4a)


                                                                                                                               99%           99%                  100%
                                                                          1%                  1%



                                                                                                                  NITROcrete Brazil                NITROcrete Mexico S DE RL   NITROcrete (Canada), Ltd
                                                                                                                  Comercializacao de Sistema       DE CV (Tax ID:              (Business Number:
                                                                                                                  de Refrigeracao de Concreto      NME201026HX3)               788894608BC0001)
                                                                                                                  Ltda (CNPJ/MF
                                                                                                                  N.39.150.700/0001-06)
                                                                                                                  NITROCRETE Registrada            Mexico Const Nitrocrete     Canada Org docs
                                                                                                                                                   Bylaws




                                                                                                                                                                                                 DECLARATION - Exhibit A
